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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                             )
                                                      )               8:12CR17
                       Plaintiff,                     )
                                                      )
       vs.                                            )                ORDER
                                                      )
RELXFORD L. HAYES,                                    )
                                                      )
                       Defendant.                     )


       This matter is before the court on the motion for an extension of time by defendant Relxford
L. Hayes (Hayes) (Filing No. 30). Hayes seeks until March 23, 2012, in which to file pretrial
motions in accordance with the progression order. Hayes' counsel represents that Hayes will file
an affidavit wherein he consents to the motion and acknowledges he understands the additional
time may be excludable time for the purposes of the Speedy Trial Act. Upon consideration and for
good cause shown, the motion will be granted.


       IT IS ORDERED:
       Defendant Hayes' motion for an extension of time (Filing No. 30) is granted. Hayes is given
until on or before March 23, 2012, in which to file pretrial motions pursuant to the progression
order. The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the
granting of the motion, i.e., the time between February 22, 2012, and March 23, 2012, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel requires additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       DATED this 22nd day of February, 2012.
                                                      BY THE COURT:


                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge
